Case 1:21-cr-20259-RNS Document 32 Entered on FLSD Docket 04/30/2021 Page 1 ofKS
                                                                              6


                                                                                        Apr 29, 2021
                             UNITED STATES DISTRICT CO URT
                             SOUTH ERN DISTRICT OF FLO RIDA
                   21-20259-CR-ALTMAN/GOODMAN
                      CA SE N O .
                                       18U.S.C.j2422(b)
                                       18U.S.C.j2251(a)and (e)
                                       18U.S.C.j2252(*(2)and (b)(1)
                                       18U.S.C.j2253
                                       18U.S.C.j2428
  UN ITED STA TES O F A M ER ICA

  V.


  R EN E PED R O SA,

                D efendant.


                                         IND ICTM ENT

         TheGrand Jury chargesthat:

                                           CO U N T 1
                  C oercing and Enticing a M inor to Engage in SexualA ctivity
                                       (18U.S.C.j2422418)
         Beginning on oraboutN ovember25,2019,and continuing through on oraboutJanuaxy

  5, 2020, in M iam i-Dade County, in the Southern District of Florida, and elsew here, the

  defendant,

                                       RENE PEDROSA,

  using a facility ofinterstate and foreign commerce,did knowingly persuade, induee,entice,and

  coerce an individualw ho had notattained the age of 18 years, thatis,the M INOR VICTIM ,to

  engage in any sexual activity for w hich any person can be charged w ith a crim inaloffense, in

  violation ofTitle18,UnitedStatesCode,Section2422(1$.
Case 1:21-cr-20259-RNS Document 32 Entered on FLSD Docket 04/30/2021 Page 2 of 6



                                           C O UN T 2
                                Production ofC hild Pornography
                                    (18U.S.C.j2251(a)and (e))
         O n or about D ecem ber 22, 2019, in M iam i-D ade County, in the Southern D istrict of

  Florida,and elsew here,the defendant,

                                        R ENE PEDR O SA ,

  did em ploy,use,persuade,induce,entice,and coerce a m inor,thatis,the M IN O R V ICTIM ,to

  engage in sexually explicit conduct for the purpose of producing a visual depiction of such

  conduct, and such visual depiction having been produced using m aterials, that is, a cellula.
                                                                                              r

  device,that had been m ailed, shipped, and transported in interstate and foreign com m erce,by

  any m eans,including by com puter,and such visualdepiction having actually been transported

  and transm itted using any m eans and facility of interstate and foreign com m erce,in violation of

  Title 18,UnitedStatesCode,Sections2251(a)and(e).
                                            CO UN T 3
                                  R eceiptofC hild Pornography
                                 (18U.S.C.j2252(*(2)and (b)(1))
         On or about D ecem ber 22, 2019,in M iam i-Dade County, in the Southern District of

  Florida,and elsew here,the defendant,

                                        R EN E PED R O SA ,

  did know ingly receive any visual depiction, using any m eans and facility of interstate and

  foreign com m erce, and that had been shipped and transported in alld affecting interstate and

  foreign com m erce, and w hich w as produced using m aterials which had been so shipped and

  transported,by any m eans,including by com puter,and the production of such visual depiction

  having involved the use of a m inorengaged in sexually explicit conduct,as defined in Title 18,




                                                  2
Case 1:21-cr-20259-RNS Document 32 Entered on FLSD Docket 04/30/2021 Page 3 of 6



   United StatesCode,Section2256(2),andsuchvisualdepiction wasofsuchconduct, in violation
  ofTitle18,UnitedStatesCode,Sections2252(/)(2)and(b)(1).
                       CRIM INAL FORFEITURE ALLEGATIO NS

                The allegationsofthislndictm entarehereby re-alleged and by thisreferenccfully

  incop orated herein for the purpose of alleging forfeittlre to the United States of America of

  certain property in which the Defendant,RENE PEDRO SA,hasan interest, pursuant to Title

  18,United StatesCode,Sections2253 and 2428.

         2.     Upon conviction ofany oftheviolationsalleged in thislndictm ent, the D efendant

  shallforfeittotheUnited States(i)anyvisualdepidion ofaminorengaged in sexually explieit
  conduct,and any book,magazine,periodical,tilm ,videotape, orotherm atterwhich containsany

  such visualdepiction,which wasprodueed,transported, m ailed,shipped,orreceived in violation

  ofChapter110ofTitle 18,United StatesCode;(ii)anyproperty,realorpersonal,thatwasused
  ancl/orintended to beused to com mitand/orto facilitate any oftheviolationsin thislndictment,

  and (iii)any property,realorpersonal,thatconstitutes,orwasderived from,any m oceedsthe
  Defendantobtained,directly orindirectly,astheresultofany suchviolations.

                The property which is subjectto forfeiture includes,butisnotlimited to,the
  follow ing electronic device:a Sam stm g cellulartelephone, bearing IM EI# 356915091624154.
Case 1:21-cr-20259-RNS Document 32 Entered on FLSD Docket 04/30/2021 Page 4 of 6



        A 1lplzrsuantto Title 18,United States Code,Sections 2253 and 2428,and the procedures

  setforth atTitle 21,United StatesCode,Sedion 853.

                                                  A TRU E BILL          W
                                                            &



                                                  FO REPER SON

          - *                    .
                                      &:
  JU AN AN TON IO G ON A EZ
  A CTIN G UN ITED STA TES A TTO RN EY


        A    H N O BEN AU F
  AS        T UN ITED STATES ATTO RN EY
                               UNITED32
    Case 1:21-cr-20259-RNS Document   STATESDI STRI
                                         Entered onCT COIJDocket
                                                    FLSD  IW     04/30/2021 Page 5 of 6
                              SOUTHERNDISTRICT OFFLORIDA

  UNITED STATESOFAM ERICA                             CASE NO.
  V.
                                                      C ERTIFICATE O F T RIAL ATTO RN EY.
  RENE PEDROSA,
                                                      Superseding CaseInformation:
                Defendant.                  /
    CourtDivision:tselectOnel                        Newdefendantts) I--IYes I
                                                                             S No
   EZ Miami gN loeyWest U-IFTL                       Numberofnewdefendants
   F-IWPB EN FTP                                     TotalnumYrofcounts
        1. 1havecarefully considered theallegationsofthe indictm ent,thenum berofdefendants,the num berofproh ble
           witnessesand theIegalcomplexitiesofthelndictm ent/lnformation attached hereto.
        2. Iam awarethattheinform ation supplied onthisstatem entwillbereliedupon by theJudgesofthisCourtin
           settingtheircalendarsand scheduling crim inaltrialsunderthemandate ofthe Speedy TrialAct,
           Title28 U .S.C.Section 3161.
        3.lnterpreter:(YesorNo) No
           Listlanguageand/ordialect
        4. Thiscasew illtake 5 daysforthepartiesto try.
        5. Pleasecheck appropriate category andtypeofoffense listedbelow :
              (Checkonlyone)                             (Checkonlyone)
         l 0to5days              nz                   Petty             (7
         11 6to10days            r71                  Minor             (71
         lll 11to20days          I71                  Misdemeanor       Z
         IV 21to60days           I7I                  Felony            Ed
         V 61daysandover         (7)
        6.HasthiscasepreviouslybeenfiledinthisDistrictCourt? (YesorNo) No
           lfyes:Judge                               CaseNo.
           (Attachcopyofdispositiveorder)
           Hasacomplaintbeenfiledinthismatter? (YesorNo) Yes
           lfyes:M agistrateCase N o. 20-MJ-02478-LO UlS
           Related m iscellaneousnumbers:
           Defendantts)infederalcustody asof On bond
           Defendantts)instatecustodyasof
           Rule20 from the Districtof
           lsthisapotentialdeathpenaltycase?(YesorNo) No
        7. Doesthiscase originatefrom am atterpending inthe CentralRegion oftheU .S.Attorney'sOffice priorto
           August9,2013 (M ag.JudgeAlicia0.Valle)?(YesorNo) No
        8. Doesthiscase originatefrom am atterpending in theN orthern Region oftheU .S.Atlorney'sOffice priorto
           August8,2014 (M ag.JudgeShaniekM aynard?(YesorNo) No
        9. Doesthiscase originatefrom am atterpending in theCentralRegion ofthe U.S.Attorney'sOfficepriorto
           October3,2019(Mag.JudgeJared Strauss)?(YesorNo) No




                                                                                                A F
                                                                     ssis    nited States Attorney
                                                                    FLA BarNo.      0052716
*penaltySheetts)attachi                                                                               REV 3/19/2l
Case 1:21-cr-20259-RNS Document 32 Entered on FLSD Docket 04/30/2021 Page 6 of 6



                           UNITED STATES DISTRICT COURT
                           SO U TH ER N D IST RICT O F FLO RID A

                                     PEN A LTY SH EET

  D efendant'sN am e:REN E PED R O SA

  C ase N o:

  Count#:1

  Coercion and Enticem entofa M inorto Encace in SexualA ctivity

  Title 18.United StatesCode,Section 2422419

  *Statutory Penalties'
                      . MandatoryM inimum ofTen (10)Years'Imprisonment;M aximllm of
  Lifelmprisonment.

  Count#:2

  Production ofChild Pom ography

  Title 18.United StatesCodesSedions22514a)and (e1

  *StatutoryPenalties:MandatoryM inimum ofFifteen(15)Years'lmprisonment'
                                                                       ,M u imum of
  Thirty(30)Years'Imprisonment.
  Count#:3

  ReceiptofChild Pornography

  Title 18sUnited StatesCodeeSections22524*(2)and (b)(1)

  *StatutoryPenalties: M andatoryM inimum ofFive(5)Years'Imprisonment;Maximum of
  Twenty(20)Years'Imprisonment.
  *R efers only to possible term of incarceration,does not include possible fines,restitution,
  specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
